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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
16444 Paramount Boulevard
Suite 205
Paramount, CA 90723

A true and correct copy of the foregoing document entitled (specify): Summary of Amended Schedules, Master Mailing List, and or
Statements will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 6-5-23 , I checked the CM/ECF
docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
to receive NEF transmission at the email addresses stated below:

D Justin Harelik info@westgatelaw.com, r61832@notify.bestcase.com;naaz@westgatelaw.com
Richard G. Heston rheston@hestonlaw.com,
yflores@hestonlaw.com,docs@hestonlaw.com;HestonRR41032@notify.bestcase.com,handhecf@gmail.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Timothy Yoo (TR) tjytrustee@lnbyg.com, tjy@trustesolutions.net

                                                                                       Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) 6-5-23 , I served the following persons and/or entities at the last known addresses
in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.

 Hon. Sheri Bluebond
United States Bankruptcy Court
Central District of California
255 E. Temple Street, Suite 1539
Los Angeles, CA 90012


                                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each person
or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)      , I served the following persons and/or entities by
personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission and/or
email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                       Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
June 5, 2023                       Naz Hafezzada                                         /s/Naz Hafezzada
Date                               Printed Name                                          Signature




     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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